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 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     PAUL D. RIDDLE
 3   Assistant Federal Public Defender
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 4   Las Vegas, Nevada 89101
     (702) 388-6577/Phone
 5   (702) 388-6261/Fax
     paul_riddle@fd.org
 6
 7   Attorney for Jose Roglio Florez

 8
                                UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                            Case No. 2:15-cr-071-JAD-GWF
12                 Plaintiff,                             UNOPPOSED MOTION TO
                                                          WAIVE APPEARANCE AT
13          v.
                                                          ARRAIGNMENT AND PLEA
14   JOSE ROGLIO FLOREZ,                                  HEARING ON SUPERSEDING
                                                          INDICTMENT
15                 Defendant.
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17          COMES NOW THE DEFENDANT, Jose Roglio Florez, by and through Rene L.
18   Valladares, Federal Public Defender and his counsel of record, Paul D. Riddle, Assistant
19   Federal Public Defender, and hereby respectfully moves this Court for an order to waive his
20   appearance on the superseding indictment (ECF 90) filed on June 29, 2016.
21          Although Federal Rules of Criminal Procedure 43(a) mandate a defendant appear for
22   the initial arraignment and plea on indictment, defendant Jose Roglio Florez made his initial
23   appearance for arraignment and plea in this case on March 18, 2015 (ECF 15).
24   ///
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 1            After conferring, government counsel has indicated to undersigned defense counsel that
 2   she is not opposed to the waiver of Mr. Florez’s appearance. The superseding indictment filed
 3   yesterday has no bearing on the charges pending against Mr. Florez and he respectfully requests
 4   the Court waive his appearance tomorrow, July 1, 2016 at 3:00 p.m.
 5            DATED this 30th of June, 2016.            RENE L. VALLADARES
                                                        Federal Public Defender
 6
 7                                                 By: /s/ Paul D. Riddle
                                                       PAUL D. RIDDLE
 8                                                     Assistant Federal Public Defender
                                                       Attorney for Jose Roglio Florez
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12    IT IS SO ORDERED:

13    this 30th         day of June            ,
      2016.
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                                                        UNITED STATES MAGISTRATE JUDGE
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 1                           CERTIFICATE OF ELECTRONIC SERVICE

 2             The undersigned hereby certifies that she is an employee of the Federal Public Defender
 3   for the District of Nevada and is a person of such age and discretion as to be competent to serve
 4   papers.
 5             That on June 30, 2016, she served an electronic copy of the above and foregoing
 6   UNOPPOSED MOTION TO WAIVE APPEARANCE AT ARRAIGNMENT AND PLEA
 7   HEARING ON SUPERSEDING INDICTMENT by electronic service (ECF) to the person
 8   named below:
 9
10                            DANIEL G. BOGDEN
                              United States Attorney
11                            ALEXANDRA M. MICHAEL
                              ANDREW DUNCAN
12                            Assistant United States Attorney
                              333 Las Vegas Blvd. So. 5th Floor
13                            Las Vegas, NV 89101

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                                                       /s/Nancy Vasquez, Legal Assistant
15                                                     Employee of the Federal Public Defender

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